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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                  §
BEJA PARKS,                                       §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §            Civil Action No. 4:16-cv-483-O
                                                  §
SOUTHWEST RECOVERY                                §
SERVICES, INC.,                                   §
                                                  §
        Defendant.                                §

                                               ORDER

        The parties notified the Court that this case has settled. ECF No. 22. The parties are

therefore directed to file the appropriate dismissal papers—a stipulation of dismissal under Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), or an agreed motion with corresponding proposed

order—with the Clerk’s Office on or before April 21, 2017. If further proceedings become

necessary or desirable, the parties should immediately file a joint status report with the Court. If the

parties do not file the appropriate dismissal papers or a joint status report on or before April 21,

2017, this case will be dismissed with prejudice. All deadlines are stayed until further ordered by

the Court.

        SO ORDERED on this 22nd day of February, 2017.




                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE



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